                  IN THE UNITED STATES DISTRICT COURT

                      FOR THE DISTRICT OF OREGON


SOLAR NATION, INC., a                      3:12-CV-01199-BR
Delaware corporation,
                                           MODIFIED TEMPORARY
             Plaintiff,                    RESTRAINING ORDER

v.

SOLAR JONES, INC., a Nevada
corporation; JONATHAN KERSEY,
a Nevada resident; JEREMY
TROUSDALE, a California
resident; RON KIRKPATRICK, an
Oklahoma resident; and
RICHARD HILBURN, a Montana
resident,

             Defendants.


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1    -   MODIFIED TEMPORARY RESTRAINING ORDER
BROWN, Judge.

        This matter, having initially come before the Court on

July 5, 2012, on the Ex Parte Application and Motion (#2) for

Temporary Restraining Order by Plaintiff Solar Nation, Inc. (SN),

and all Defendants now having appeared through counsel Timothy

Smith during the proceedings on the record on July 10, 2012, and

July 12, 2012, the Court hereby VACATES the Temporary Restraining

Order (#9) entered by the Court on July 5, 2012, and ENTERS this

Modified Temporary Restraining Order pursuant to Federal Rule of

Civil Procedure 65(b)(1) and (2) for the reasons that follow.

         The Court notes Defendants’ counsel represented they have

authority to accept service on behalf of their clients.    The

Court, therefore, concludes that electronic notice of this

Modified Temporary Restraining Order to Defendants’ counsel is

sufficient notice to all Defendants and assumes counsel will take

all necessary and immediate steps to inform Defendants of this

Order.

        The Court also notes Defendants have now produced to

Plaintiff’s computer forensic examiner certain devices described

in the original Temporary Restraining Order.    The Court, however,

reaffirms its initial finding that until the rights of the

parties to the disputed property are resolved, Plaintiff faces an



2   -   MODIFIED TEMPORARY RESTRAINING ORDER
ongoing risk of immediate and irreparable harm from any

retention, use, or dissemination of Plaintiff’s property in any

form by any Defendant.    Finally, the Court notes Plaintiff has

paid security in the amount of $5,000 as a condition of the

original TRO.    Absent any showing to the contrary, the Court now

finds that security is also sufficient to protect Defendants

during the term of this Modified TRO.    On this record, therefore,

the Court concludes the ongoing risk of injury to Plaintiff

substantially outweighs any potential harm to Defendants that may

result from entering this Modified Temporary Restraining Order.

The Court also continues to find this restraining order to be in

the public interest.

        Accordingly, the Court enters the following Modified

Temporary Restraining Order:

        Defendants individually and all of their affiliates,

officers, directors, shareholders, employees, whether acting

directly or indirectly or in concert or active participation with

Defendants, are and shall be:

        1.   TEMPORARILY RESTRAINED and ENJOINED from directly or

indirectly accessing, using, disclosing, transferring, or making

available to any person or entity (including any person employed

by, doing business with, or contracted in any capacity by or with

defendant Solar Jones) any Protected Information in their

possession, custody, or control, including information that may


3   -   MODIFIED TEMPORARY RESTRAINING ORDER
have been transferred from other Computer Devices or Email

Systems except only to the extent necessary to prepare their

defense and to respond to discovery requests in this matter; and

        2.   TEMPORARILY RESTRAINED and ENJOINED from indirectly or

directly altering, destroying, deleting, overwriting, defacing,

hiding, or otherwise changing any Protected Information in their

possession, custody, or control, including information that may

have been transferred from other Computer Devices or Email

Systems.

        For purposes of this Temporary Restraining Order, "Protected

Information" is defined as any information regarding the

following:

             SN's past and present sales activity and data;
             potential leads on new customers, sales and products;
             current customer and sales contact information; product
             pricing data; order data; discussions and/or
             negotiations with past, present and potential
             customers; past, existing and future project
             information; and proprietary product design
             information.

             "Protected Information" also includes the following SN
             and PK Solar, Inc. information:

             (i) information, formulae, compilations, software
             programs (including object codes and source codes),
             devices, methods, techniques, drawings, plans,
             experimental and research work, inventions, patterns,
             processes and know-how, whether or not patentable, and
             whether or not at a commercial stage related to SN and
             PK Solar, Inc.'s business or any subsidiary thereof;

             (ii) the names, buying habits or practices of SN's and
             PK Solar's customers;

             (iii) SN's and PK Solar's marketing methods and related

4   -   MODIFIED TEMPORARY RESTRAINING ORDER
             data;

             (iv) the names of SN's and PK Solar's vendors and
             suppliers;

             (v)   SN's and PK Solar's costs of materials;

             (vi) the prices SN or PK Solar obtains or has obtained
             or at which SN's and PK Solar's sells (sic) or has sold
             its products or services;

             (vii) lists or other written records used in SN's or PK
             Solar's Business;

             (viii) compensation paid to employees and other terms
             of employment; and

             (ix)   any other confidential information of, about or
             concerning the SN's or PK Solar's Business, its manner
             of operation, or other confidential data of any kind,
             nature, or description.

        For purposes of this Temporary Restraining Order, "Computer

Devices or Email Systems" is defined as follows:

             All computers and computer media in the Defendants'
             possession, custody, or control which were used by
             Defendants during the course and scope of their
             employment with plaintiff Solar Nation, Inc., including
             external hard drives and other similar data storage
             devices, USB devices; laptops, ipads and cell phones;
             all similar devices to those specifically stated; This
             definition also applies to Defendants' Computers and
             Devices to which the defined information was
             transferred.

             Email Systems means all email accounts to which any
             Protected Information was transferred or stored at any
             time.

        The Court remains willing to consider modifications to this

Order based on the agreement of the parties or on a proper

showing by one of the parties that these terms are either

insufficient, onerous, or unnecessary.     The Court is prepared to

5   -   MODIFIED TEMPORARY RESTRAINING ORDER
supervise an expedited discovery process between the parties to

ensure the Court can quickly resolve the question whether

Defendants have any right to retain or to use any disputed

Protected Information.

        This Order shall remain in effect until further order of the

Court.

        A status hearing remains set for July 19, 2012, at 8:30 a.m.

The joint status report remains due to the Court on July 18,

2012, by 5:00 p.m.

        IT IS SO ORDERED this 13th day of July, 2012.



                                      /s/ Anna J. Brown


                                      ANNA J. BROWN
                                      United States District Judge




6   -   MODIFIED TEMPORARY RESTRAINING ORDER
